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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff,
                                                              File No. 1:05-CR-160
v.
                                                              HON. ROBERT HOLMES BELL
JOSHSHAN CHILDS,

               Defendant.
                                             /

                                           OPINION

       Defendant Joshshan Childs was indicted on one count of conspiracy to use and use of

interstate commerce facilities in the commission of a murder-for-hire in violation of 18 U.S.C.

§ 1958. This matter is currently before the Court on Defendant Childs’ motion to suppress

statements made on August 27, 2002.

                                                  I.

       Childs moves to suppress his statement pursuant to 18 U.S.C. § 3501 because it was not

voluntarily made, or, in the alternative, because he did not make a knowing, voluntary and intelligent

waiver of his rights as required by Miranda v. Arizona, 384 U.S. 436 (1966).

       A confession, defined as “any confession of guilt of any criminal offense or any self-

incriminating statement,” 18 U.S.C. § 3501(e), is admissible in evidence if it is voluntarily made.

18 U.S.C. § 3501(a). Before a confession is received in evidence “the trial judge shall, out of the

presence of the jury, determine any issue as to voluntariness.” 18 U.S.C. § 3501(a). When a

defendant challenges the voluntariness of a confession, the government must prove voluntariness by
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a preponderance of the evidence. Lego v. Twomey, 404 U.S. 477, 489 (1972); United States v.

Wrice, 954 F.2d 406, 410 (6th Cir. 1992).

       In determining the issue of voluntariness the court should consider all of the surrounding

circumstances including the following:

        (1) the time elapsing between arrest and arraignment of the defendant making the
       confession, if it was made after arrest and before arraignment, (2) whether such
       defendant knew the nature of the offense with which he was charged or of which he
       was suspected at the time of making the confession, (3) whether or not such
       defendant was advised or knew that he was not required to make any statement and
       that any such statement could be used against him, (4) whether or not such defendant
       had been advised prior to questioning of his right to the assistance of counsel; and (5)
       whether or not such defendant was without the assistance of counsel when questioned
       and when giving such confession.

18 U.S.C. § 3501(b).

       If the government relies on a defendant’s waiver of his Miranda rights, the burden is on the

Government to show, by a preponderance of the evidence, that the defendant validly waived those

rights. Colorado v. Connelly, 479 U.S. 157, 168 (1986). To be valid, the waiver must be made

“voluntarily, knowingly and intelligently.” Moran v. Burbine, 475 U.S. 412, 421 (1986) (quoting

Miranda, 384 U.S. at 444). “Only if the ‘totality of the circumstances surrounding the interrogation’

reveal both an uncoerced choice and the requisite level of comprehension may a court properly

conclude that the Miranda rights have been waived.” Id. (quoting Fare v. Michael C., 442 U.S. 707,

725 (1979)).

                                                 II.

       At the evidentiary hearing on December 15, 2006, the government presented the testimony

of Benton Township Detective Carl DeLand. Defendant Childs did not offer any witnesses or




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evidence. The Court found the testimony of Detective DeLand to be credible. The Court’s findings

of fact are accordingly based upon his unrebutted testimony.

       On August 27, 2002, Defendant Joshshan Childs was incarcerated at the Telfair State Prison

in Helena, Georgia, on state charges. FBI Special Agent Al DeBrito and Benton Township Detective

Carl DeLand went to Telfair State Prison to interview Childs about the death of Chrissy Satterfield

some six years before.

       At approximately 10:00 a.m. Childs was brought to an interview room that was separated

from the prison population. Agent DeBrito and Detective DeLand introduced themselves and

advised Defendant Childs that they were there to discuss Childs’ involvement in the Chrissy

Satterfield murder.

       DeLand read Childs his Miranda warnings from a card and gave Childs the rights card to

read. DeLand then asked Childs if he understood each of the rights and whether he wanted to talk.

Childs responded affirmatively to both questions. Childs signed “Childs, Joshshan” on the bottom

of the Miranda waiver of rights card. After Childs signed the waiver, DeLand and DeBrito began

questioning him about the Satterfield murder. DeLand took notes of the interview, but the interview

was not electronically recorded.

       According to DeLand, Childs appeared to be oriented as to time and place, and he did not

appear to be tired or ill. He appeared to understand the questions asked. Neither DeLand nor

DeBrito used any threats or physical force against Childs, nor did they offer him any promises or

bribes. Childs did not request that the interview be recorded nor did he request counsel.

       Toward the end of the interview Childs asked what penalties he would be looking at if he

were charged with murder. DeBrito told him that he could not predict what he would get, but that


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he could be facing anything as high as death, life, or a term of years, possibly twenty years. That was

the end of the interview.

                                                 III.

       At the time Childs was questioned by Agent DeBrito and Detective DeLand he was in

custody, he was subject to interrogation, and he was without the assistance of counsel. The

unrefuted facts also indicate that he was advised of the nature of the offense that he was suspected

of being involved in, he was advised that he was not required to make a statement, he was advised

that any statement could be used against him, he was advised that he had a right to the assistance of

counsel, and he was advised that he could decide at any time not to answer any questions.

       Childs contends that the government has not established that his statement was voluntary

under the totality of the circumstances. Childs has requested the Court to focus particularly on the

coercive atmosphere of the prison, the manner in which the waiver was obtained, the timing of the

waiver, the failure to electronically record the interview, the lack of representation, and the false

promise of leniency.

       Although the Miranda rights were read together, and not one by one, they were not

confusing. The Court is aware of no case law requiring each right to be inquired into separately.

Furthermore, Childs had an opportunity to read the rights on his own before signing the waiver.

       Childs contends that without a recording, it is impossible to tell whether he was fully

explained his rights before he began speaking with investigators. The Court found Detective

DeLand’s testimony that the rights were read and the waiver obtained before the interview to be

credible, and there was no contrary evidence to suggest that Childs did not waive his Miranda rights

at the beginning of the interview.


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       The lack of an electronic recording does not cause this Court to question the timing of the

waiver.   There is no constitutional right to have custodial interrogations and confessions

electronically recorded. See United States v. Dobbins, No. 96-4233, 1998 WL 698717 *4

(unpublished) (citing United States v. Coades, 549 F.2d 1303 (9th Cir. 1977)). Testimony that the

defendant confessed is not subject to suppression merely because it was not recorded. Id. See also

Reinert v. Larkins, 379 F.3d 76, 94 n. 4 (3rd Cir. 2004) (declining to infer a federal right to have

custodial interrogations recorded). Moreover, Childs has not suggested how the lack of a recording

would implicate the voluntariness of his statement.

       There was no evidence that the officers made any false promises of leniency. Agent DeBrito

mentioned a twenty year sentence as one of several possible penalties, along with the death penalty

and life in prison. He did not promise a particular sentence. Moreover, the discussion regarding

potential penalties occurred at the conclusion of the interview, after Childs had already made

statements about Chrissy Satterfield, so the penalty discussion could not have influenced Childs’

decision to make those statements.

       The mere fact that the interview took place in a prison is not sufficient to suggest that it was

unduly coercive. The interview was conducted in a private room that was separate from the inmate

population. That setting was no more coercive than a conference room of a police station. The fact

that Childs signed the Miranda waiver with his last name first, without more, does not suggest that

his will was overborne by the prison environment.

       Although the officers arrived without warning six years after the murder to interrogate

Childs, and although Childs did not have an opportunity to consult with counsel before their arrival,

Childs waived his right to counsel. There was no evidence that Childs was unable to comprehend


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his Miranda rights or the nature of the interview. There was no evidence that his decision to waive

counsel and to answer questions was coerced by promises, threats, or force. In the absence of

evidence of some other coercive factors, the Court does not find that the factors of delay and lack

of notice were sufficient to overcome Childs’ ability to thoughtfully consider his waiver of his right

to counsel.

          There is simply nothing on this record to suggest that Childs’ waiver and statements were not

voluntarily, knowingly and intelligently made. Accordingly, Childs’ motion to suppress will be

denied.

          An order consistent with this opinion will be entered.




Date:      December 21, 2006                    /s/ Robert Holmes Bell
                                                ROBERT HOLMES BELL
                                                CHIEF UNITED STATES DISTRICT JUDGE




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